Case 8:24-cv-00879-CEH-TPB-ALB Document 54-3 Filed 10/10/24 Page 1 of 4 PageID 585




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

   KÉTO NORD HODGES, et al.,
         Plaintiffs,
   v.
                                                           Case No. 8:24-cv-879
   KATHLEEN PASSIDOMO, in her official
   capacity as President of the Florida Senate,
   et al.,
         Defendants.
                                              /

           PLAINTIFFS’ NOTICE OF DEPOSITION OF MARY ADKINS

         Please take notice that, pursuant to Fed. R. Civ. P. 30, Plaintiffs will take the

   deposition of Mary Adkins. The deposition be recorded stenographically and

   videographically before a person who is authorized by law pursuant to Rule 28. The

   deposition will commence at 9:00 AM on November 8, 2024 and will continue from

   day to day until completed. By consent of the parties and witness, the deposition will

   be taken by remote videoconference means. The videoconference information will be

   shared before the deposition.

         This deposition will be taken for the purpose of discovery, for use as evidence,

   and for such other uses and purposes as are permitted under the Federal Rules of Civil

   Procedure and other applicable law.


   Dated October 9, 2024.                         /s/ Nicholas L.V. Warren

   Nicholas L.V. Warren (FBN 1019018)             Deborah N. Archer*
   ACLU Foundation of Florida                     David Chen*


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   KÉTO NORD HODGES, et al.,
         Plaintiffs,
   v.
                                                           Case No. 8:24-cv-879
   KATHLEEN PASSIDOMO, in her official
   capacity as President of the Florida Senate,
   et al.,
         Defendants.
                                              /

         PLAINTIFFS’ NOTICE OF DEPOSITION OF DR. SEAN TRENDE

         Please take notice that, pursuant to Fed. R. Civ. P. 30, Plaintiffs will take the

   deposition of Dr. Sean Trende. The deposition be recorded stenographically and

   videographically before a person who is authorized by law pursuant to Rule 28. The

   deposition will commence at 10:00 AM on November 25, 2024 and will continue from

   day to day until completed. By consent of the parties and witness, the deposition will

   be taken by remote videoconference means. The videoconference information will be

   shared before the deposition.

         This deposition will be taken for the purpose of discovery, for use as evidence,

   and for such other uses and purposes as are permitted under the Federal Rules of Civil

   Procedure and other applicable law.


   Dated October 9, 2024.                         /s/ Nicholas L.V. Warren

   Nicholas L.V. Warren (FBN 1019018)             Deborah N. Archer*
   ACLU Foundation of Florida                     David Chen*


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                                 Counsel for Plaintiffs




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